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2
3                                   IN THE UNITED STATES DISTRICT COURT
4                                FOR THE EASTERN DISTRICT OF CALIFORNIA
5
6    UNITED STATES OF AMERICA,                          )   NO. 1:05-Cr-00221 AWI
                                                        )
7                            Plaintiff,                 )   ORDER ON STIPULATION CONTINUING
                                                        )   TRIAL CONFIRMATION/CHANGE OF PLEA
8            v.                                         )   HEARING
                                                        )
9    DANIEL PLANCARTE-VALDOVINOS,                       )   Date: November 13, 2006
                                                        )   Time: 11:00 A.M.
10                           Defendants.                )   Judge: Hon. Anthony W. Ishii
                                                        )
11                                                      )
12
             The parties in the above entitled case have filed the following stipulation:
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14
             IT IS HEREBY STIPULATED by and between the parties hereto through their respective counsel that
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     the trial confirmation/change of plea hearing now set for November 6, 2006, may be continued to
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     November 13, 2006, at 11:00 A.M.
17
             This continuance is sought at the request of counsel for defendant to allow additional time for case
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     preparation.
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             The parties agree that the delay resulting from the continuance shall be excluded in the interests of
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     justice, including but not limited to, the need for the period of time set forth herein in the interest of justice
21
     and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and 3161(h)(8)(B)(i) and
22
     (iv).
23
                                                                     McGREGOR W. SCOTT
24                                                                   United States Attorney

25
     DATED: November 1, 2006                                   By:   /s/ Kimberly A. Sanchez
26                                                                   KIMBERLY A. SANCHEZ
                                                                     Assistant United States Attorney
27                                                                   Attorney for Plaintiff

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1                                                               DANIEL J. BRODERICK
                                                                Federal Public Defender
2
3    DATED: November 1, 2006                               By: /s/ Francine Zepeda
                                                               FRANCINE ZEPEDA
4                                                              Assistant Federal Defender
                                                               Attorneys for Defendant
5                                                              DANIEL VALDOVINOS-PLANCARTE
6
7                                                   ORDER
8            As per the above stipulation, IT IS SO ORDERED. Time is excluded in the interest of justice
9    and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and 3161(h)(8)(B)(i) and
10   (iv).
11
12   IT IS SO ORDERED.
13   Dated:     November 2, 2006                      /s/ Anthony W. Ishii
     0m8i78                                     UNITED STATES DISTRICT JUDGE
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